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                           IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                 IN AND FOR PINELLAS COUNTY, FLORIDA
                                             CIVIL DIVISION

          ALI THOMAS, as Personal
          Representative of the ESTATE OF
          STEVEN SMITH

          Plaintiff,                                                        CASE NO.: 22-004626-CI

          v.

          BAB ENTERPRISES, LLC d/b/a BEACH
          BUILDERS and TOWN CENTER CONDO
          B DEVELOPMENT, LLC and
          WILLIAMS KARNS and WILLIAM
          KARNS ENTERPRISES, INC., and
          STEPHEN P. SIMPSON d/b/a
          STEPHEN P. SIMPSON ELECTRIC
                                                          /

                             FOURTH AMENDED WRONGFUL DEATH COMPLAINT

                       Plaintiff, ALI THOMAS, as Personal Representative of the ESTATE OF STEVEN

               SMITH, deceased, by and through the undersigned attorneys, hereby sues Defendants, and

               alleges:

                     1.     This is an action for damages that exceeds the sum of FIFTY THOUSAND

               DOLLARS ($50,000.00), exclusive of costs, interest and attorneys’ fees. The estimated value of

               Plaintiff’s claim is in excess of the minimum jurisdictional threshold required by this Court).

               Accordingly, Plaintiff has entered “$50,001” in the civil cover sheet for the “estimated amount

               of the claim” as required in the preamble to the civil cover sheet for jurisdictional purposes only

               (the Florida Supreme Court has ordered that the estimated “amount of claim” be set forth in the

               civil cover sheet for data collection and clerical purposes only). The actual value of Plaintiff’s

               claim will be determined by a fair and just jury in accordance with Article 1, Section 21, Fla.

                                                              1




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    Const.

          2.    This action of filed pursuant to the provisions of Florida’s Wrongful Death Act, §

     768.16, Fla. Stat.

           3.       Plaintiff, ALI THOMAS, is the duly appointed, qualified and acting

    Personal Representative of the ESTATE OF STEVEN SMITH, her natural father.

           4.       ALI THOMAS and SPENCER S. SMITH are the only beneficiaries to this

     action and are the decedent’s children pursuant to the Wrongful Death Act. See § 768 Fla. Stat.

           5.     ALI THOMAS and SPENCER S. SMITH have sustained damages

    and losses including but not limited to:

                    a.     The loss of decedent’s support and services for the remainder of their life;

                    b.     Loss of decedent’s companionship and protection for the
                           remainder of their life;

                    c.     Mental pain and suffering for the remainder of their life.

                    d.     Medical and funeral expenses.

           6.       At all times material hereto, Defendant, BAB ENTERPRISES, d/b/a BEACH

    BUILDERS, was a corporation authorized and conducting business in the State of Florida

    including Pinellas County, Florida.

           7.       At all times material hereto, Defendant, TOWN CENTER CONDO B

    DEVELOPMENT, LLC was a corporation authorized and conducting business in the State of

    Florida including Pinellas County, Florida.

           8.       At all times material hereto, Defendant, WILLIAM F. KARNS was conducting

    business in the State of Florida including Pinellas County, Florida.

           9.       At all times material hereto, Defendant, WILLIAM KARNS ENTERPRISES,

    INC., corporation authorized and conducting business in the State of Florida including Pinellas
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    County, Florida.

           10.       At all times material hereto, Defendant, STEPHEN P. SIMPSON d/b/a STEPHEN

    P SIMPSON ELECTRIC, LLC., was a corporation authorized and conducting business in the

    State of Florida including Pinellas County, Florida.

           11.       The Sixth Judicial Circuit Court has venue pursuant to Florida Statutes, Section

    47.011 because the cause of action accrued in Pinellas County, Florida.

                                               FACTS

           12. On October 9, 2021, STEVEN SMITH was lawfully working at Town Center Condo B

     Development, under construction at the time, located at 300 150th Avenue, Madeira Beach, Florida

     33708, in Pinellas County.

           13.       This location was a five-story condominium building, under construction

    consisting of 4 stories, over 1 story of parking.

           14.       STEVEN SMITH was working on the 5th floor of the building without benefit

    of any safety equipment, which is an OSHA violation, or the required employee training

    regarding the procedures to be followed in order to minimize fall hazards.

           15.       As STEVEN SMITH was throwing trash over the temporary railing into a metal

    dumpster on the ground, the railing broke causing STEVEN SMITH to fall 5 stories to his

    death into the metal dumpster below.

          COUNT I – NEGLIGENCE - BAB ENTERPRISES, LLC d/b/a BEACH BUILDERS

           16.   Defendant, BAB ENTERPRISES, LLC d/b/a BEACH BUILDERS, owed STEVEN

     SMITH, a business invitee upon the premises, the duty to exercise reasonable care for the safety

     of Plaintiff.

           17.       Defendant, BAB ENTERPRISES, LLC d/b/a BEACH BUILDERS, breached

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    the duty owed to the Plaintiff, STEVEN SMITH, by committing one or more of the following

    omissions or commissions:

                      a.     Negligently failed to maintain or adequately maintain the subject premises

    by allowing poorly constructed construction railings remain on the premises;

                      b.     Negligently failed to inspect or adequately inspect the railing to ensure that

    it was properly secured;

                      c.     Negligently failed to warn or adequately warn the Plaintiff, when

    the Defendant, BAB ENTERPRISES, LLC d/b/a BEACH BUILDERS, knew or should have

    known of

    said danger and that the Plaintiff was unaware of said danger;

                      d.     Negligently failed to correct, or adequately correct the dangerous

    condition when said dangerous condition was known to the Defendant or had existed for a

    sufficient length of time so that the Defendant should have known of it.

          18.         Defendant, BAB ENTERPRISES, LLC d/b/a BEACH BUILDERS committed

    serious violations to OSHA standard number 29 CFR 1926.503(a)(1): “The employer did not

    provide a training program for each employee potentially exposed to fall hazards to enable each

    employee to recognizethe hazards of falling and the procedures to be followed in order to minimize

    these hazards”.

          19.         OSHA’s citation goes further to say, “On or about 10/09/2021, and at time prior

    to, at the condominium under construction, employees worked at upper levels at the multi-story

    construction site and had not been trained to recognize fall hazards. Employees were not aware of

    fall hazards such as, but not limited to, the height at which fall protection was required and the

    required height of the guardrail system.”

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          20.       As a direct and proximate cause of the negligence of the Defendant, BAB

    ENTERPRISES, LLC d/b/a BEACH BUILDERS, as heretofore alleged, STEVEN SMITH,

    was killed when a faulty, poorly secured railing broke causing him to fall five stories to his death

    into a metal dumpster.

              WHEREFORE, Plaintiff demands judgment against the Defendant, BAB

    ENTERPRISES, LLC d/b/a BEACH BUILDERS in an amount in excess of Fifty

    Thousand ($50,000) Dollars, and requests a trial by jury of all issues triable as of right by

    a jury.

         COUNT II – NEGLIGENCE – TOWN CENTER CONDO B DEVELOPMENT, LLC

          21.    Defendant, TOWN CENTER CONDO B DEVELOPMENT, LLC owed STEVEN

    SMITH, a business visitor upon the premises, the duty to exercise reasonable care for the safety

    of Plaintiff.

          22.       Defendant, TOWN CENTER CONDO B DEVELOPMENT, LLC, breached the

     duty owed to the Plaintiff, STEVEN SMITH, by committing one or more of the following

     omissions or commissions:

                    a.       Negligently failed to maintain or adequately maintain the subject premises

    by allowing poorly constructed construction railings remain on the premises;

                    b.       Negligently failed to inspect or adequately inspect the railing to ensure that

    it was properly secured;

                    c.       Negligently failed to warn or adequately warn the Plaintiff, when the

    Defendant, TOWN CENTER CONDO B DEVELOPMENT, LLC knew or should have known

    of said danger and that the Plaintiff was unaware of said danger;

                    d.       Negligently failed to correct, or adequately correct the dangerous

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     condition when said dangerous condition was known to the Defendant or had existed for a

     sufficient length of time so that the Defendant should have known of it.

            23.   Defendant, TOWN CENTER CONDO B DEVELOPMENT, LLC committed

  serious violations to OSHA standard number 29 CFR 1926.503(a)(1): “The employer did not provide

  a training program for each employee potentially exposed to fall hazards to enable each employee to

  recognize the hazards of falling and the procedures to be followed in order to minimize these hazards”.

            24.       OSHA’s citation goes further to say, “On or about 10/09/2021, and at time prior

   to, at the condominium under construction, employees worked at upper levels at the multi-story

   construction site and had not been trained to recognize fall hazards. Employees were not aware of fall

   hazards such as, but not limited to, the height at which fall protection was required and the required

   height of the guardrail system.”

            25.         As a direct and proximate cause of the negligence of the Defendant, TOWN

   CENTER CONDO B DEVELOPMENT, LLC, as heretofore alleged, STEVEN SMITH, was

   killed when a faulty, poorly secured railing broke causing him to fall five stories to his death into a

   metal dumpster. WHEREFORE, Plaintiff demands judgment against the Defendant, TOWN

   CENTER CONDO B DEVELOPMENT, LLC, in an amount in excess of Fifty Thousand ($50,000)

   Dollars, and requests a trial by jury of all issues triable as of right by a jury.


                           COUNT III – NEGLIGENCE – WILLIAM F. KARNS

            26.   Defendant, WILLIAM F. KARNS, owed STEVEN SMITH, a business invitee upon

   the premises, the duty to exercise reasonable care for the safety of Plaintiff.

            27.       Defendant, WILLIAM F. KARNS, breached the duty owed to the Plaintiff,

     STEVEN SMITH, by committing one or more of the following omissions or commissions:

                      a.      Negligently failed to maintain or adequately maintain the subject premises
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    by allowing poorly constructed construction railings remain on the premises;

                   b.      Negligently failed to inspect or adequately inspect the railing to ensure that

    it was properly secured;

                   c.      Negligently failed to warn or adequately warn the Plaintiff, when

    the Defendant, WILLIAM F. KARNS, knew or should have known of

    said danger and that the Plaintiff was unaware of said danger;

                   d.      Negligently failed to correct, or adequately correct the dangerous

    condition when said dangerous condition was known to the Defendant or had existed for a

    sufficient length of time so that the Defendant should have known of it.

          28.      Defendant, WILLIAM F. KARNS, committed serious violations to OSHA

    standard number 29 CFR 1926.503(a)(1): “The employer did not provide a training program for

    each employee potentially exposed to fall hazards to enable each employee to recognize the

    hazards of falling and the procedures to be followed in order to minimize these hazards”.

          29.      OSHA’s citation goes further to say, “On or about 10/09/2021, and at time prior

    to, at the condominium under construction, employees worked at upper levels at the multi-story

    construction site and had not been trained to recognize fall hazards. Employees were not aware of

    fall hazards such as, but not limited to, the height at which fall protection was required and the

    required height of the guardrail system.”

          30.      As a direct and proximate cause of the negligence of the Defendant, WILLIAM

    F. KARNS, as heretofore alleged, STEVEN SMITH, was killed when a faulty, poorly secured

    railing broke causing him to fall five stories to his death into a metal dumpster.

           WHEREFORE, Plaintiff demands judgment against the Defendant, WILLIAM F.

    KARNS, in an amount in excess of Fifty Thousand ($50,000) Dollars, and requests a trial by

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    jury of all issues triable as of right by a jury.


           COUNT IV – NEGLIGENCE – WILLIAM KARNS ENTERPRISES, INC.

          31. Defendant, WIILIAMKARNSENTERPRISES, INC. owed STEVEN SMITH, a business

    visitor upon the premises, the duty to exercise reasonable care for the safety of Plaintiff.

          32.       Defendant, WIILIAM KARNS ENTERPRISES, INC, breached the duty owed to the

    Plaintiff, STEVEN SMITH, by committing one or more of the following omissions or

    commissions:

                    a. Negligently failed to maintain or adequately maintain the subject premises by

     allowing poorly constructed construction railings remain on the premises;

                    b. Negligently failed to inspect or adequately inspect the railing to ensure

     that it was properly secured;

                    c. Negligently failed to warn or adequately warn the Plaintiff, when the

     Defendant, WIILIAM KARNS ENTERPRISES, INC, knew or should have known of said danger

     and that the Plaintiff was unaware of said danger;

                    d.       Negligently failed to correct, or adequately correct the dangerous

     condition when said dangerous condition was known to the Defendant or had existed for a

     sufficient length of time so that the Defendant should have known of it.

          33.       Defendant, WIILIAM KARNS ENTERPRISES, INC. committed serious violations

    to OSHA standard number 29 CFR 1926.503(a)(1): “The employer did not provide a training

    program for each employee potentially exposed to fall hazards to enable each employee to

    recognize the hazards of falling and the procedures to be followed in order to minimize these

    hazards”.

          34.       OSHA’s citation goes further to say, “On or about 10/09/2021, and at time prior
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    to, at the condominium under construction, employees worked at upper levels at the multi-story

    construction site and had not been trained to recognize fall hazards. Employees were not aware of

    fall hazards such as, but not limited to, the height at which fall protection was required and the

    required height of the guardrail system.”

          35.           As a direct and proximate cause of the negligence of the Defendant, WIILIAM

    KARNS ENTERPRISES, INC, as heretofore alleged, STEVEN SMITH, was killed when a faulty,

    poorly secured railing broke causing him to fall five stories to his death into a metal dumpster.

    WHEREFORE, Plaintiff demands judgment against the Defendant, WIILIAM KARNS

    ENTERPRISES, INC, in an amount in excess of Fifty Thousand ($50,000) Dollars, and requests a

    trial by jury of all issues triable as of right by a jury.


            COUNT V – NEGLIGENCE – STEPHEN P. SIMPSON d/b/a STEPHEN
                             P. SIMPSON ELECTRIC,

          36.       Defendant, STEPHEN P. SIMPSON d/b/a STEPHEN P SIMPSON ELECTRIC,

    owed STEVEN SMITH, a business visitor upon the premises, the duty to exercise

    reasonable care for the safety of Plaintiff.

          37.       Defendant, STEPHEN P. SIMPSON d/b/a STEPHEN P SIMPSON ELECTRIC,

    breached the duty owed to the Plaintiff, STEVEN SMITH, by committing one or more of the

    following omissions or commissions:

                   a.     Negligently failed to maintain or adequately maintain the subject premises by

     allowing poorly constructed construction railings remain on the premises;

                   b.     Negligently failed to inspect or adequately inspect the railing to ensure that it

     was properly secured;

                    c. Negligently failed to warn or adequately warn the Plaintiff, when the

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    Defendant, STEPHEN P. SIMPSON d/b/a STEPHEN P SIMPSON ELECTRIC, knew or

    should have known of said danger and that the Plaintiff was unaware of said danger;

                   d.   Negligently failed to correct, or adequately correct the dangerous condition

    when said dangerous condition was known to the Defendant or had existed for a sufficient length

    of time so that the Defendant should have known of it.

           38.      Defendant,    STEPHEN P. SIMPSON d/b/a STEPHEN P SIMPSON

     ELECTRIC, committed serious violations to OSHA standard number 29 CFR 1926.503(a)(1):

     “The employer did not provide a training program for each employee potentially exposed to fall

     hazards to enable each employee to recognize the hazards of falling and the procedures to be

     followed in order to minimize these hazards”.

           39.      OSHA’s citation goes further to say, “On or about 10/09/2021, and at time prior

     to, at the condominium under construction, employees worked at upper levels at the multi-story

     construction site and had not been trained to recognize fall hazards. Employees were not aware of

     fall hazards such as, but not limited to, the height at which fall protection was required and the

     required height of the guardrail system.”

           40.      As a direct and proximate cause of the negligence of the Defendant, As a direct

     and proximate cause of the negligence of the Defendant, STEPHEN P. SIMPSON d/b/a

     STEPHEN P SIMPSON ELECTRIC, as heretofore alleged, STEVEN SMITH, was killed when

     a faulty, poorly secured railing broke causing him to fall five stories to his death into a metal

     dumpster.

            WHEREFORE, Plaintiff demands judgment against the Defendant, STEPHEN P.

     SIMPSON d/b/a STEPHEN P SIMPSON ELECTRIC, in an amount in excess of Fifty

     Thousand ($50,000) Dollars, and requests a trial by jury of all issues triable as of right by a


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     jury.

     Dated this 17th day of October, 2023.

                                                    s/ Joseph A. Kopacz_____
                                                    Joseph A. Kopacz, Esquire
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